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AO 458 (Rev. 06/09) Appearance of Counsel


                                     UNITED STATES DISTRICT COURT
                                                            for the
                                                    District ofColumbia            [3

                         United States                         )
                             Plaintiff                         )
                                V.                             )      Case No.    20-CR-165-JEB
                       Kevin Clinesmith                        )
                            Defendant                          )

                                              APPEARANCE OF COUNSEL

To:       The clerk ofcourt and all parties ofrecord

          I am admitted or otherwise authorized to practice in this court, and I appear in this case as counsel for:

         Amici National Crime_victim Law Institute et al.


Date:          12/28/2020                                                                 /s/ Paul G. Cassell
                                                                                          Attorney's signature


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